                              NO. 07-09-0388-CV

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL D

                                MAY 17, 2010




          In the Matter of the Marriage of STEPHANIE YVONNE CABELLO
             And MATTHEW MARSIAL CABELLO and In the Interest of
               MATTHEW MARSIAL CABELLO JR. and YANIN AGUSTINA
                              CABELLO, Children
                        _____________________________

               FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;

              NO. 76,966-D; HONORABLE DON R. EMERSON, PRESIDING



                             Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

      Matthew Marsial Cabello (appellant) filed a pro se  notice  of  appeal
seeking to alter the trial court(s judgment on child  support.   We  dismiss
the appeal.  The clerk(s record was filed with this  court  on  January  19,
2010.  No reporter's record was  taken.   On  February  1,  2010,  appellant
filed a motion for extension of time to file his brief,  which  was  granted
to March 22, 2010.  On March 25, 2010, appellant filed  a  second  extension
to file his pro se brief, which was granted to  April  21,  2010,  with  the
admonition that no further extensions would be granted.  No brief was  filed
by that date, so the Court notified appellant on April 28,  2010,  that  the
due date for the brief had lapsed, that the brief had not  been  filed,  and
that if it was not received by May 5, 2010, the appeal  would  be  dismissed
for want of prosecution.   To  date,  no  brief  or  motion  to  extend  the
deadline has been filed.  Nor has the court  received  any  explanation  for
the omission.

      Accordingly, we dismiss the appeal for want of  prosecution.  Tex.  R.
App. P.  38.8(a)(1); 42.3(b).

                                       Per Curiam




